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                             UNITED STATES DISTRICT COURT 
                             SOUTHERN DISTRICT OF FLORIDA 
                                  FORT PIERCE DIVISION 
                                               
                           CASE No. 15-CV-14303-MIDDLEBROOKS 

   TIMOTHY D. WILLSON, 
    
         Plaintiff, 
    
   v. 
    
   BANK OF AMERICA, N.A., 
     
         Defendant. 
   __________________________________/ 
     
                     [PROPOSED] JOINT TRIAL SCHEDULING REPORT 

          Plaintiff  Timothy  D.  Willson  (“Plaintiff”),  and  Defendant,  Bank  of  America,  N.A., 

   by  and  through counsel, hereby submit their Proposed Joint Pretrial Scheduling Report 

   based  on  the  Court’s  prior  orders  and  pursuant  to  the  Court’s  Order  Lifting  Stay  (D.E. 

   109) entered by the Court on or about April 5, 2018.  

              1. The  Plaintiff  shall  file  his  Motion  for  Reconsideration  of  the  Order  on 

                  Defendant’s  Motion  to  Dismiss  and  Motion  for  Summary Judgment on or 

                  before  April  30,  2018.  The  Defendant  shall  have  fourteen  (14)  days  to  file 

                  a  response  thereto.  The  Plaintiff  shall  have  ten  (10) days to file a reply to 

                  Defendant’s response. 

              2. The  Defendant  shall  file  its  Motion  for  the  Court’s  Abstention  from 

                  Jurisdiction  on  or  before  April  30,  2018.  The  Plaintiff  shall  have  fourteen 

                  (14)  days  to  file  a  response  thereto.  The  Defendant  shall  have  ten  (10) 

                  days to file a reply to Plaintiff’s response. 
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           3. TRIAL  DATE  AND  CALENDAR  CALL:  The  Parties  propose  this  case  shall 

              be  set  for  trial  on  the  two-week  trial  calendar beginning August 27, 2018, 

              and  for  Status  Conference/Calendar  Call  on  August  22,  2018,  at  1:15 

              p.m.  All  counsel  shall  appear  via  telephone.  The  Parties  shall  coordinate 

              the  conference  call  and  provide  the  Court  with  call-in  instructions 

              (​middlebrooks@flsd.uscourts.gov​)  48  hours  prior  to  the  calendar 

              call/status conference. 

                 a. JURY TRIALS 

                     On  or  before  the  date  of  the  Status  Conference/Calendar  Call, 

                     counsel  shall  submit  proposed  jury  instructions  with  the 

                     substantive  charges  and  defenses,  verdict  form,  and  motions  in 

                     limine,  if  any.  Jury  instructions  shall  be  filed  with  the  Clerk  and  a 

                     copy  shall  be  submitted  in  Word  format  directly  to 

                     middlebrooks@flsd.uscourts.gov.  To  the  extent  these  instructions 

                     are  based  upon  the  Eleventh  Circuit  Pattern  Jury  Instructions, 

                     counsel  shall  indicate  the  appropriate Eleventh Circuit Pattern Jury 

                     Instruction  upon  which  their  instruction  is  modeled.  All  other 

                     instructions shall include citations to relevant supporting case law. 

                 b. BENCH TRIALS 

                     ln  cases  tried  before  the  Court,  each  party  shall  file  at  least  ONE 

                     WEEK  prior  to  the  beginning  of  the  trial  calendar,  the  proposed 

                     Findings  of  Fact  and  Conclusions  of  Law.  An  additional  copy shall 
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                     be  sent  in  Word  format  to  the  chambers  e-mail  account  listed 

                     above.  Prior  to  any  trial,  counsel  shall  submit  to  the  Court  a typed 

                     list  of  proposed  witnesses  and/or  exhibits.  All  exhibits  shall  be 

                     pre-labeled  in  accordance  with  the  proposed  exhibit  list.  Exhibit 

                     labels  must  include  the  case  number.  At  least  two-weeks  before 

                     trial  the  parties  shall  file  their  deposition  designations  along  with 

                     objections in the event there are any.  

                  c. Deposition  Designations  shall  be  filed  on  or  before  August  24, 

                     2018. 

    
   Respectfully submitted,                           
                                                     
   /s/Jessica L. Kerr                               /s/ Marc E. Dann 
   ____________________________________             ____________________________________ 
   JESSICA L. KERR                                  MARC E. DANN 
   FBN: 92810                                       OH BN: 0039425  
   JESSICA L. KERR, P.A.                            (Admitted Pro Hac Vice) 
   Co-Counsel for Plaintiff                         THE DANN LAW FIRM CO., L.P.A. 
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   jkerr@advocacypa.com                             notices@dannlaw.com 
   Co-Counsel for Plaintiff                         Co-Counsel for Plaintiff 
                                                     
                                                    /s/ Ariel Acevedo 
                                                    _______________________________ 
                                                    Ariel Acevedo, Esq. 
                                                    Florida Bar No. 946001 
                                                    LIEBLER, GONZALEZ & PORTUONDO 
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                                                    Telephone: 305-379-0400 
                                                    Facsimile: 305-379-9626 
                                                    Email: ​aa@lgplaw.com 
                                                    Counsel for Defendant 
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                                      ​CERTIFICATE OF SERVICE 
                                                         
           I  hereby  certify  that  on  April  13,  2018,  a  copy  of  the  foregoing  was  submitted 

   electronically  to  the  Court.  Notice  of  this  filing  will  be  sent  by  operation  of  the  Court’s 

   electronic  filing  system  to  all  parties  indicated  on  the  electronic  filing  report.  All  other 

   parties  will  be  served  via  regular  U.S.  Mail  to  his,  her  or  its  respective  address  as 

   indicated. Parties may access this filing through the Court’s system. 

            

   /s/ Jessica L. Kerr 

   ____________________________________ 
   JESSICA L. KERR 
   FBN: 92810 
          
          
